      Case 5:17-cr-00434-DAE Document 9 Filed 06/12/17 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
vs.                                               §      Criminal No.: SA:17-CR-00434(1)-DAE

(1) JIMMY GALINDO
  Defendant



                   MEMORANDUM AND RECOMMENDATION
             Pursuant to the referral by the district judge, the defendant, defendant's attorney and
the attorney for the government appeared before the undersigned magistrate judge on June 12,
2017, for the purpose of defendant's entry of a plea of guilty. At that time defendant entered a
guilty plea as stated in the record. The magistrate judge addressed the defendant personally in
open court and, after assuring that defendant was competent to proceed and had consented to
pleading guilty before a magistrate judge, admonished the defendant in accordance with Rule 11,
Fed.R.Crim.P., of the nature of the charge, the possible penalties, defendant's constitutional and
statutory rights, and the consequences of pleading guilty.                Defendant acknowledged
understanding these admonishments. The undersigned          also addressed defendant concerning the
voluntariness of the guilty plea. Finally, the undersigned assured the existence of a factual basis
for the guilty plea. Based upon the answers to the court's questions from defendant and from
 counsel, the magistrate judge makes the following findings:

                    the defendant is competent to stand trial;
              2.    the defendant has consented to plead guilty before a magistrate judge;
              3.    the defendant fully understands the nature of the charge and the penalties;
              4.    the defendant understands defendant's constitutional and statutory rights and
                    desires to waive them;
              5.    the defendant's plea is freely, knowingly and voluntarily made; and
              6.    there is a factual basis for the plea.

                                      RECOMMENDATION

       It is, therefore, the recommendation of the Magistrate Judge that the guilty plea be
ACCEPTED and that a judgment of guilt be entered against defendant.
      Case 5:17-cr-00434-DAE Document 9 Filed 06/12/17 Page 2 of 2




                                 Instructions for Service and
                               Notice of Right to Appeal I Object

            The United States District Clerk shall serve a copy of this Memorandum and
Recommendation on all parties either (1) electronic transmittal to all parties represented by an
attorney registered as a Filing User with the Clerk of Court pursuant to the Court's Procedural
Rules for Electronic Filing in Civil and Criminal Cases; or (2) by certified mail, return receipt
requested, to any party not represented by an attorney registered as a Filing User. Pursuant to
Title 28 U.S.C. Section 636 (b) (1) and Rule 59(b)(2), Fed.R.Crim.P., any party who desires to
object to this report must serve and file written objections to the Memorandum and
Recommendation within 14 days after being served with a copy unless this time period is
modified by the district court. A party filing objections must specifically identi1' those findings,
conclusions or recommendations to which objections are being made and the basis for such
objections; the district court need not consider frivolous, conclusive or general objections. Such
party shall file the objections with the clerk of court, and serve the objections on all other
parties and the magistrate judge. A party's failure to file written objections to the proposed
findings, conclusions and recommendations contained in this report shall bar the party from a de
novo determination by the district court. See Thomas v. Am, 474 U.S. 140, 150, 106 S.Ct. 466,
472, 88 L.Ed.2d 435 (1985). Additionally, any failure to file written objections to the proposed
findings, conclusions and recommendation contained in this Memorandum and Recommendation
within 14 days after being served with a copy shall bar the aggrieved party, except upon grounds
of plain error, from attacking on appeal the unobj ected-to proposed factual findings and legal
conclusions accepted by the district court.           Douglass v. United Services Automobile
Association, 79 F.3d 1415, 1428-29 (5th Cir. 1996).

            SIGNED on June 12, 2017.


                                                                                    'I
                                                                      .
                                                                          I
